
SILBERMAN, Judge.
L.I.B. seeks review of the circuit court order adjudicating him delinquent. It is undisputed that, through no fault of L.I.B., a transcript of the adjudicatory hearing is unavailable and an adequate record cannot be constructed. The granting of a new trial is a proper remedy when an adequate record cannot be prepared. Delap v. State, 350 So.2d 462, 463 (Fla.1977). This principle has been applied to juvenile cases. M.R.G. v. State, 576 So.2d 1378, 1378 (Fla. 2d DCA 1991); S.D. v. State, 677 So.2d 861, 861 (Fla. 1st DCA 1995). Therefore, we reverse and remand to the circuit court to conduct a de novo adjudicatory hearing.
DAVIS, J., and THREADGILL, EDWARD F., SENIOR JUDGE, Concur.
